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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            )
                                                   )
                                       Plaintiffs, )
                                                   )
v.                                                 )       Case No. 1:18-cv-00068
                                                   )
UNITED STATES OF AMERICA, et al.,                  )
                                                   )
                                     Defendants, )
                                                   )
and                                                )
                                                   )
KARLA PEREZ, et al.;                               )
                                                   )
STATE OF NEW JERSEY,                               )
                                                   )
                           Defendant-Intervenors. )

         ORDER GRANTING PLAINTIFF STATES’ UNOPPOSED
        MOTION TO WITHDRAW RYAN L. BANGERT AS COUNSEL

      Before the Court is Plaintiff States’ Unopposed Motion to Withdraw Ryan L.

Bangert as Counsel. Having considered the Motion, the Court is of the opinion that

the Motion should be GRANTED.

      IT IS THEREFORE ORDERED that Plaintiff States’ Unopposed Motion to

Withdraw Ryan L. Bangert as Counsel is hereby GRANTED. The Clerk is instructed

to remove Mr. Bangert from all further electronic notifications regarding this case.

      SIGNED on this ____ day of __________________, 2020.



                                            __________________________________
                                            ANDREW S. HANEN
                                            UNITED STATES DISTRICT JUDGE
